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9
                   UNITED STATES DISTRICT COURT
10                      DISTRICT OF NEVADA
                                          -oOo-
11
     UNITED STATES OF AMERICA,              )
12                                          )   Case No.: 2:17-cr-00180-JAD-PAL
                                            )
                     Plaintiff,             )   STIPULATION TO CONTINUE
13                                          )   GOVERNMENT’S RESPONSE TO
             vs.                            )   DEFENDANT’S MOTION TO
14                                          )   DISMISS (ECF No. 267)
     EVERLY JAMES,                          )
15                                          )
                                            )
                     Defendant.             )
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17
                   IT IS HEREBY STIPULATED AND AGREED, by and between Dayle
18
     Elieson, United States Attorney; and Cristina D. Silva and Frank J. Coumou,
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     Assistant United States Attorneys, counsel for the United States of America, and
20
     Christopher R. Oram, Esq., counsel for defendant EVERLY JAMES, for the reasons
21
     set forth herein, that the Government’s response to defendant’s motion to dismiss
22
     (ECF No. 267), which is currently due on February 14, 2018, be continued for one
23
     week.
24
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1               The parties respectfully requests that this stipulation be granted for the

2    following reasons:

3          1.      Taking into account due diligence, the United States needs additional

4    time to confer with its case agents in order to respond to the motion to dismiss.

5          2.      Counsel for the Defendant does not have an objection to the brief

6    continuance of the response deadline.

7          3.      The defendant is in custody and but does not object to the brief

8    continuance of the response deadline.

9          4.      This is the first request to continue the response deadline to the motion

10   to dismiss.

11
                DATED this 12th day of February, 2018.
12
                                                    DAYLE ELIESON
13                                                  United States Attorney

14        /s/                                             /s/
     CHRISTOPHER R. ORAM, ESQ.                      CRISTINA D. SILVA
15   Counsel for the Defendant                      FRANK J. COUMOU
                                                    Assistant United States Attorneys
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1                   UNITED STATES DISTRICT COURT
2                        DISTRICT OF NEVADA
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     UNITED STATES OF AMERICA,                   )
                                                 ) Case No.: 2:17-cr-00180-JAD-PAL
4                                                )
                    Plaintiff,                   ) ORDER
5                                                )
           vs.                                   )
6                                                )
     EVERLY JAMES,                               )
                                                 )
7                                                )
                    Defendant.                   )
8

9                                        FINDINGS OF FACT

10         Based on the pending Stipulation of counsel, and good cause appearing

11   therefore, the Court finds that:

12         1.       Taking into account due diligence, the United States needs additional

13   time to confer with its case agents in order to respond to the motion to dismiss.

14         2.       Counsel for the Defendant does not have an objection to the brief

15   continuance of the response deadline.

16         3.       The defendant is in custody and but does not object to the brief

17   continuance of the response deadline.

18         4.       This is the first request to continue the response deadline to the motion

19   to dismiss.

20               For all of the above-stated reasons, the end of justice would best be served

21   by a one week continuance of the Government’s deadline to respond to Defendant’s

22   motion to dismiss. ECF No. 267.

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1                                        ORDER

2          IT IS ORDERED that the Government’s deadline to respond to the

3    Defendant’s motion to dismiss (ECF No. 267), that was previously scheduled for

4    February 14, 2018, be vacated and continued to February 21, 2018.

5          DATED this 15th day of February, 2018.

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7                                         _______________________________________
                                          THE HONORABLE PEGGY A. LEEN
8                                         United States Magistrate Judge

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